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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 JOHN DOE,

        Plaintiff,                                    CIVIL ACTION NO. 3:04-CV-2427

                v.
                                                      (JUDGE CAPUTO)
 REV. ALBERT M. LIBERATORE, JR.,
 DIOCESE OF SCRANTON, SACRED
 HEART OF JESUS CHURCH, BISHOP
 JAMES C. TIMLIN, REV. JOSEPH R.
 KOPACZ and BROTHER ANTONIO F.
 ANTONUCCI,

        Defendants.

                                      MEMORANDUM

       Presently before the Court is Plaintiff’s Motion for Reconsideration (Doc. 106) of

the Court’s Memorandum and Order (Doc. 103), dated March 19, 2007, in which the

Court, inter alia, granted Defendants Diocese of Scranton, Sacred Heart of Jesus

Church, Bishop James C. Timlin, Rev. Joseph R. Kopacz (“Diocesan Defendants”), and

Brother Antonio F. Antonucci’s (“Brother Antonucci”) Motions for Summary Judgment

(Docs. 75-1, 76) as to Count VII of Plaintiff’s Complaint (Intentional Infliction of Emotional

Distress). For the reasons stated below, the Court will deny Plaintiff’s motion.

                                      BACKGROUND

       The facts of this action, which is based on Defendant Liberatore’s sexual abuse of

Plaintiff while Liberatore was a priest, are well known to the parties and are described in

detail in the Court’s Memorandum and Order (Doc. 103), Doe v. Liberatore, --- F. Supp.

2d ----, 2007 WL 809639 (M.D. Pa. Mar. 19, 2007). As such, the Court need not recite

them here. Relevant to the instant motion are the following facts.
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       On November 3, 2006, the Diocesan Defendants and Brother Antonucci filed their

motions for summary judgment (Docs. 75-1, 76) arguing, inter alia, that Plaintiff’s claim

for intentional infliction of emotional distress (Count VII) lacked sufficient evidence in the

record. The Court viewed this argument as raising the issue of whether there was

adequate medical evidence in the record to survive summary judgment. As outlined in

the Court’s Memorandum and Order, there was no competent medical evidence in the

record to support Plaintiff’s claim of severe emotional distress. (Doc. 103 at 37-38); Doe,

--- F. Supp. 2d ----, 2007 WL 809639, at *20.

       Plaintiff now argues that the issue of competent medical evidence was a matter

outside the adversarial issues presented for the Court’s consideration of the Dicoesan

Defendant’s and Brother Antonucci’s motions for summary judgment. (Pl.’s Br. In Supp.

2, Doc. 107.) Plaintiff has also appended to his brief a substantial amount of medical

evidence in support of his intentional infliction of emotional distress claim. (Docs. 107-2,

-3 and -4.)

                                    LEGAL STANDARD

       A motion for reconsideration is governed by Rule 59(e) of the Federal Rules of

Civil Procedure, which allows a party to move to alter or amend a judgment within ten

days of entry. FED . R. CIV. P. 59(e). The purpose of a motion for reconsideration is to

correct manifest errors of law or fact or to present newly discovered evidence. Harsco

Corp. v. Zlotnicki, 779 F.2d 906, 909 (3d Cir. 1985). A judgment may be altered or

amended if the party seeking reconsideration establishes at least one of the following

grounds: “(1) an intervening change in controlling law; (2) the availability of new evidence



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that was not available when the court granted the motion for summary judgment; or (3)

the need to correct a clear error of law or fact or to prevent manifest injustice.” Max’s

Seafood Café, by Lou-Ann, Inc., v. Quinteros, 176 F.3d 669, 677 (3d Cir. 1999). “A

motion for reconsideration is not to be used as a means to reargue matters already

argued and disposed of or as an attempt to relitigate a point of disagreement between

the Court and the litigant.” Ogden v. Keystone Residence, 226 F. Supp. 2d 588, 606

(M.D. Pa. 2002). “[R]econsideration motions may not be used to raise new arguments or

present evidence that could have been raised prior to the entry of judgment.” Hill v.

Tammac Corp., Civ. A. No. 05-1148, 2006 WL 529044, at *2 (M.D. Pa. Mar. 3, 2006).

Lastly, the reconsideration of a judgment is an extraordinary remedy, and such motions

should be granted sparingly. D’Angio v. Borough of Nescopeck, 56 F. Supp. 2d 502, 504

(M.D. Pa. 1999).1

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     Additionally, the Court notes that sum m ary judgm ent is appropriate if “the pleadings, depositions,
answers to interrogatories, and adm issions on file, together with the affidavits, if any, show that there
is no genuine issue as to any m aterial fact and that the m oving party is entitled to a judgm ent as a
m atter of law.” F ED . R. C IV . P. 56(c). A fact is m aterial if proof of its existence or nonexistence m ight
affect the outcom e of the suit under the applicable substantive law. See Anderson v. Liberty Lobby,
Inc., 477 U.S. 242, 248 (1986).
    W here there is no m aterial fact in dispute, the m oving party need only establish that it is entitled to
judgm ent as a m atter of law. W here, however, there is a disputed issue of m aterial fact, sum m ary
judgm ent is appropriate only if the factual dispute is not a genuine one. See id. at 248. An issue of
m aterial fact is genuine if “a reasonable jury could return a verdict for the nonm oving party.” Id.
    W here there is a m aterial fact in dispute, the m oving party has the initial burden of proving that:
(1) there is no genuine issue of m aterial fact; and (2) the m oving party is entitled to judgm ent as a
m atter of law. See C HAR LES A LAN W R IG H T & A R TH U R R. M ILLER , F ED ER AL P R AC TIC E AN D P R OC ED U RE :
C IVIL 2D § 2727 (2d ed. 1983). The m oving party m ay present its own evidence or, where the
nonm oving party has the burden of proof, sim ply point out to the Court that “the nonm oving party has
failed to m ake a sufficient showing of an essential elem ent of her case.” Celotex Corp. v. Catrett,
477 U.S. 317, 323 (1986).
    All doubts as to the existence of a genuine issue of m aterial fact m ust be resolved against the
m oving party, and the entire record m ust be exam ined in the light m ost favorable to the nonm oving
party. See W hite v. W estinghouse Elec. Co., 862 F.2d 56, 59 (3d Cir. 1988). Once the m oving party
has satisfied its initial burden, the burden shifts to the nonm oving party to either present affirm ative
evidence supporting its version of the m aterial facts or to refute the m oving party’s contention that the
facts entitle it to judgm ent as a m atter of law. See Anderson, 477 U.S. at 256-257.
    The Court need not accept m ere conclusory allegations, whether they are m ade in the com plaint

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                                               DISCUSSION

        The Court will deny Plaintiff’s motion for reconsideration. Even assuming, as

Plaintiff argues, that the sufficiency of medical evidence was outside the scope of

adversarial issues presented for summary judgment, there is insufficient evidence as a

matter of law to allow a reasonable jury to find the Diocesan Defendants and Brother

Antonucci liable for intentional infliction of emotional distress.

        Liability for intentional infliction of emotional distress is limited to those cases in

which the conduct complained of is extreme and outrageous. Dawson v. Zayre Dep’t

Stores, 499 A.2d 648, 649 (Pa. Super. Ct. 1985). Extreme and outrageous conduct is

conduct which is “so outrageous in character, and so extreme in degree, as to go beyond

all possible bounds of decency, and to be regarded as atrocious, and utterly intolerable in

a civilized society.” Strickland v. University of Scranton, 700 A.2d 979, 987 (Pa. Super.

Ct. 1997). Generally, “the case is one in which the recitation of the facts to an average

member of the community would arouse his resentment against the actor, and lead him

to exclaim, ‘outrageous’!” Id. “It has not been enough that the defendant has acted with

an intent which is tortious or even criminal, or that he has intended to inflict emotional

distress, or even that his conduct has been characterized by ‘malice,’ or a degree of

aggravation which would entitle the plaintiff to punitive damages for another tort.”

RESTATEMENT (SECOND ) OF TORTS § 46 cmt. d (1965). Rather, “recovery for the tort of

intentional infliction of emotional distress [has been] reserved by the courts for only the


or a sworn statem ent. Lujan v. Nat’l W ildlife Fed’n, 497 U.S. 871, 888 (1990). In deciding a m otion
for sum m ary judgm ent, “the judge’s function is not him self to weigh the evidence and determ ine the
truth of the m atter but to determ ine whether there is a genuine issue for trial.” Anderson, 477 U.S. at
249.

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most clearly desperate and ultra extreme conduct . . . .” Hoy v. Angelone, 720 A.2d 745,

754 (Pa. 1998). It is for the Court to determine, in the first instance, whether the actor’s

conduct can reasonably be regarded as so extreme and outrageous as to permit

recovery. Dawson, 499 A.2d at 649. “The requisite ‘intention’ which one must display for

liability to be imposed is knowledge on the part of the actor that severe emotional distress

is substantially certain to be produced by his conduct.” Hoffman v. Memorial Osteopathic

Hospital, 492 A.2d 1382 (Pa. Super. Ct. 1985) (citing Forster v. Manchester, 189 A.2d

147, 151 (Pa. 1963)).

       In my Memorandum and Order (Doc. 103), I concluded that there was sufficient

evidence to allow a reasonable jury to award punitive damages, stating that:

              The Diocesan Defendants and Brother Antonucci knew that
              Plaintiff was routinely sleeping in Liberatore’s bedroom and
              that Liberatore had taken Plaintiff on several overnight trips.
              The Diocesan Defendants also knew about Liberatore’s past
              involvement with [a male seminarian]. Brother Antonucci had
              been told by Plaintiff that Liberatore had touched him in a
              sexual manner. A reasonable jury could conclude that a
              minor’s sleeping in a priest’s bedroom and a priest’s taking a
              minor alone on overnight trips are facts which create a high
              degree of risk of physical harm to the minor. The failure to
              end this conduct . . . could reasonably be viewed by a jury as
              reckless.

(Doc. 103 at 55-56); Doe, --- F. Supp. 2d ----, 2007 WL 809639, at *30. However, while

this failure to end Liberatore’s relationship with Plaintiff could be viewed as reckless, the

failure to act on the part of the Diocesan Defendants and Brother Antonucci cannot, as a

matter of law, subject them to liability for intentional infliction of emotional distress.

Jackson v. Sun Oil Co. of Pa., 521 A.2d 469, 471 (Pa. Super. Ct. 1987) (there is no

liability for intentional infliction of emotional distress where the claim is based on the


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failure to act). See Page ex rel. Page v. School District of Philadelphia, 45 F. Supp. 2d

457, 469 (E.D. Pa. 1999) (school teachers’ omissions to act in failing to prevent assault of

student perpetrated by other students did not subject them to liability for intentional

infliction of emotional distress). Plaintiff does not allege nor has offered any evidence

that an affirmative or intentional act on the part of the Diocesan Defendants or Brother

Antonucci caused him severe emotional distress. Rather, it was the sexual abuse of

Liberatore, that the Diocesan Defendants and Brother Antonucci failed to prevent or

cease, which caused Plaintiff severe emotional distress. (See Doc. 1 ¶ 87.) As such, the

Diocesan Defendants and Brother Antonucci were properly granted summary judgment

as to Plaintiff’s intentional infliction of emotional distress cause of action (Count VII).

Consequently, the Court will deny Plaintiff’s motion for reconsideration (Doc. 106).

                                        CONCLUSION

       For the above stated reasons, the Court will deny Plaintiff’s Motion for

Reconsideration (Doc. 106).

       An appropriate Order follows.


May 15, 2007                                       /s/ A. Richard Caputo
Date                                               A. Richard Caputo
                                                   United States District Judge




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 KOPACZ and BROTHER ANTONIO F.
 ANTONUCCI,

       Defendants.

                                       ORDER

      NOW, this      15th   day of May, 2007, IT IS HEREBY ORDERED that Plaintiff’s

Motion for Reconsideration (Doc. 106) is DENIED.




                                              /s/ A. Richard Caputo
                                              A. Richard Caputo
                                              United States District Judge
